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 1                                                  MAGISTRATE JUDGE LEIGHTON
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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT TACOMA
 7
     UNITED STATES OF AMERICA,               )     NO. CR05-5823 RBL
 8                                           )
                     Plaintiff,              )     ORDER SEALING DEFENDANT’S
 9                                           )     STATEMENT REGARDING
                     vs.                     )     CONFLICT AND ATTORNEY’S
10                                           )     LETTER TO JUDGE LEIGHTON
     THOMAS EVANS DUNIGAN,                   )
11                                           )
                     Defendant.              )
12                                           )
13
            The Court having considered the Motion for Order Sealing Defendant’s Statement
14
     Regarding Conflict and Attorney’s Letter to Judge Leighton,
15
            NOW THEREFORE IT IS HEREBY ORDERED that the Defendant’s Statement
16
     Regarding Conflict and Attorney’s Letter to Judge Leighton be sealed.
17
            DONE this 9th day of February, 2007.
18

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                                       A
                                       RONALD B. LEIGHTON
     Presented by:                     UNITED STATES DISTRICT JUDGE
21
     /s/___________________
22 Steven J. Krupa
     WSBA #23997
23

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25

26
                                                                                    LAW OFFICES OF
                                                                                    KRUPA & CLARK
                                                                                 1008 S. Yakima Ave. Ste. 100
                                                                                 Tacoma, Washington 98405
     ORDER SEALING – page 1                                                                   (253) 573-1000
